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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA                              :   Docket No. 3:14MJ00154(HBF)
                                                      :
v.                                                    :
                                                      :
RAUL CABAN MARTES                                     :   August 14, 2014
                                                      :
------------------------------------------------------x


                                  MOTION FOR RELEASE ON BOND

        The defendant, Raul Caban Martes, hereby requests that the Court order his release from

detention subject to a bond. Mr. Caban Martes is charged in a complaint dated July 2, 2014, with

conspiracy to unlawfully deal in firearms. He was presented in federal court for the first time on

July 2, 2014, at which time he was detained by the Court. A bond hearing was subsequently held on

July 8, 2014, at which time the Court denied the defendant’s oral motion for release on a non-surety

bond, subject to review of recordings provided by the government. Since the receipt of those

recordings, no further ruling has been issued.

        Mr. Caban Martes hereby renews his request for release, and requests that the Court issue a

ruling on his motion or schedule a renewed hearing to address any remaining issues. Mr. Caban

Martes proposes that he be released on a non-surety bond, to be co-signed by his mother and his

girlfriend. Prior to his arrest on these charges. Mr. Caban Martes was working two jobs. His

mother works full-time, but his girlfriend is home during the day caring for their infant.

Accordingly, she is able to serve as a custodian. Mr. Caban Martes is willing to submit to home

confinement with electronic monitoring during the period of his release, and to any other conditions

that the Court feels are appropriate.
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       Mr. Caban has no prior criminal history and poses no danger to the community. He also

poses no risk of flight, as he has no passport and no assets, and all of his family resides in the

immediate area.

       Counsel for the government, Assistant United States Attorney Vanessa Richards, opposes

the defendant’s release.



                                                       Respectfully submitted,

                                                       The Defendant,
                                                       Raul Caban Martes

                                                       Office of the Federal Defender



Dated: August 14, 2014                                   /s/ Sarah A. L. Merriam
                                                       Sarah A. L. Merriam
                                                       Assistant Federal Defender
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 14, 2014, a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the Court’s CM/ECF System.


                                                  /s/ Sarah A. L. Merriam
                                                        Sarah A. L. Merriam
